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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION


    HYDENTRA HLP INT. LIMITED,
    a foreign corporation d/b/a METART                                       Case No.
                                                                       1:15-cv-22463-MGC
         Plaintiff,

    v.

    MAXIMUM APPS INC., a foreign company
    d/b/a SEX.COM, CLOVER HOLDINGS
    LIMITED PARTNERSHIP, a foreign
    company, d/b/a SEX.COM; SEX.COM;
    FREDERIC VALIQUETTE, an individual,
    and; John Does 1-20,

         Defendants.


                            DECLARATION OF EVAN FRAY-WITZER
                                       IN SUPPORT OF
                      OPPOSITION TO PLAINTIFF’S MOTION FOR SANCTIONS

            I, Evan Fray-Witzer, do declare and state as follows:

            1.        I am an attorney licensed to practice law in the state and federal courts of the

   Commonwealth of Massachusetts and the State of New Hampshire. I am also admitted to the

   First Circuit Court of Appeals, the Ninth Circuit Court of Appeals, and the United States

   Supreme Court bar. I am admitted pro hac vice in the above captioned matter as counsel for

   Defendants Maximum Apps Inc. and Mr. Frederic Valiquette. I have personal knowledge of the

   facts stated herein. If called upon to do so, I could and would testify to the truth hereof.

            2.        Attached hereto as Exhibit 1 is a true and correct copy of an email that I sent to

   counsel for Plaintiff Hydentra HLP Int. Limited on November 18, 2015. In that email, I

   explained to Plaintiff’s counsel why the Maximum Defendants could not appear within the



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   jurisdiction until such time as the Court had decided the Defendants’ Motion to Dismiss on

   Jurisdictional grounds.

          3.      Despite being counsel of record in this case and despite what the Plaintiff’s

   certificates of service state, the Plaintiff did not actually serve me with notices of deposition for

   any of the Defendants in this matter.

          4.      I understood the deposition notices sent by the Plaintiff to simply be placeholders

   in case the parties were unable to reach agreement on the Joint Motion to Stay, as well as to

   provide the Plaintiff with a reasonable argument that it should be permitted to take depositions at

   a later date if for some reason the Court were to deny the parties’ Joint Motion to Stay.

          5.      Given the ongoing communications between the parties and the content of the

   filed Joint Motion to Stay pre-trial deadlines, however, I did not believe or expect that the

   noticed depositions (even had I been properly served with them) would occur, nor did I believe

   that Plaintiff thought that such depositions would occur as originally (and improperly) noticed.

          6.      Had I actually believed that the Plaintiff intended the deposition notices to signify

   that depositions were to occur in Florida on the dates indicated, I would have informed the

   Plaintiff: (a) that the law clearly required any depositions to occur where the defendants live or

   reside, which is Canada, (b) that I was previously scheduled for an all-day mediation on the date

   indicated which could not be moved, (c) that the notices were superseded by the parties’ Joint

   Motion to Stay, (d) that the Defendants could not risk that the Plaintiff would attempt to serve

   them if they came into the jurisdiction, and (e) that the Defendants would file for a protective

   order if the Plaintiff insisted that the depositions should occur before the Court decided the

   Motions to Dismiss.




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          7.      Approximately one week before the originally noticed deposition dates, I was

   informed by Attorney Brady Cobb that the noticed depositions in this case had been discussed at

   the end of a deposition he attended in a different case. Attorney Cobb informed me that the

   Plaintiff understood the depositions would not be going forward and that Plaintiff’s counsel

   intended to call him to discuss the matter.

          8.      On January 27, 2016, Attorney Cobb told me he was going to send an email to

   Plaintiff’s counsel confirming that the depositions were not proceeding on the originally

   scheduled dates.

          9.      When I saw Attorney Spencer Freeman’s response – indicating that he was

   already en route to Florida – I actually thought that he was simply joking with us and I emailed

   him to that effect. A true and correct copy of that correspondence is attached hereto as Exhibit 2.

          10.     In almost 23 years of practice, I cannot recall a single instance in which counsel

   did not confirm with one another that a deposition was proceeding as initially scheduled in the

   days before a deposition occurred, much less so in a situation where the parties had already

   agreed that discovery should be stayed. This has held true for depositions where counsel are just

   blocks away from one another. The idea that an attorney might get on a plane to fly across the

   country to attend an unconfirmed deposition honestly never crossed my mind.

          11.     After Attorney Freeman responded to my email, I immediately thereafter spoke

   with him by phone and suggested that he might still be able to return home from his layover in

   Dallas. Attorney Freeman said that he would continue on to Florida and that, while Attorney

   Behar might choose to conduct the depositions for the sole purpose of putting the non-attendance

   on the record, the parties would nonetheless “figure it out.”




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                                Exhibit
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